                              UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF PENNSYLVANIA

 DAUD S. EL-BAKARA, SR.,

           Plaintiff                            Case No. 2:17-cv-05138-MMB

                       v.

 WELTMAN, WEINBERG & REIS CO,.
 LPA,

           Defendant

                              MOTION TO COMPEL DISCOVERY

       Plaintiff Daud S. El-Bakara, by counsel, hereby requests that the Court compel Defendant

to provide full and complete responses to Plaintiff’s discovery requests. The reasons for this

Motion are set forth in the accompanying Memorandum of Law, which is incorporated as if fully

set forth herein.

Respectfully submitted,

                                                          FRANCIS & MAILMAN, P.C.

                                                          /s/ Joseph L. Gentilcore
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                                                          Attorneys for Plaintiff
                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 24th day of August, 2018, I electronically filed the foregoing

with the Clerk of the Court for the Eastern District of Pennsylvania, using the CM/ECF system,

which will provide notification of such filing to the parties of record.



                                                /s/ Joseph L. Gentilcore
                                               Joseph L. Gentilcore
